        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 1 of 9



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 9                                   UNITED STATES DISTRICT COURT
10                                  NORTHERN DISTRICT OF CALIFORNIA
11
   IN RE: CATHODE RAY TUBE (CRT)                          Master File No. M:07-5944-SC
12 ANTITRUST LITIGATION                                   MDL No. 1917
13 This Document Relates to                               Case No. 3:11-cv-05513-SC
14 Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,
   et al., No. 11-cv-01656;
15                                                        STIPULATION AND [PROPOSED]
   Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;      ORDER EXTENDING THE
16                                                        DEADLINE TO FILE MOTION TO
   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,   COMPEL LG ELECTRONICS, INC.
17 No. 11-cv-05513;                                       AND LG ELECTRONICS USA, INC.
                                                          TO RESPOND TO DIRECT
18 Target Corp., et al. v. Chunghwa Picture Tubes,        ACTION PLAINTIFFS’ FIRST SET
   Ltd., et al., No. 11-cv-05514;                         OF REQUESTS FOR ADMISSION
19
   Interbond Corporation of America v. Hitachi, et
20 al., No. 11-cv-06275;

21 Office Depot, Inc. v. Hitachi, Ltd., et al., No.
   11-cv-06276;
22
   CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
23 No. 11-cv-06396;

24 Costco Wholesale Corporation v. Hitachi, Ltd., et
   al., No. 11-cv-06397;
25
   P.C. Richard & Son Long Island Corporation, et
26 al. v. Hitachi, Ltd., et al., No. 12-cv-02648;

27 Schultze Agency Services, LLC v. Hitachi, Ltd.,
   et al., No. 12-cv-02649;
28
                                                           STIPULATION AND [PROPOSED] ORDER EXTENDING THE
     Master File No. M:07-5994-SC                          DEADLINE TO FILE MOTION TO COMPEL LG TO RESPOND
     MDL No. 1917                                          TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSION
        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 2 of 9



 1 Tech Data Corporation, et al. v. Hitachi, Ltd., et
   al., No. 13-cv-00157;
 2
   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et
 3 al., No. 13-cv-01173;

 4 Dell Inc. and Dell Products L.P. v. Hitachi, Ltd.,
   et al., No. 13-cv-02171;
 5
   Sharp Electronics Corp. et al. v. Koninklijke
 6 Philips Electronics, N.V., et al., No. 13-cv-
   02776;
 7
   Siegel v. Technicolor SA, et al., No. 13-cv-05261;
 8
   Sears, Roebuck and Co., et al. v. Technicolor SA,
 9 No. 13-cv-05262;

10 Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
   No. 13-cv-05264;
11
   Schultze Agency Services, LLC v. Technicolor
12 SA, et al., No. 13-cv-05668;

13 Target Corp., v. Technicolor SA, et al., No. 13-
   cv-05686;
14
   Costco Wholesale Corporation v. Technicolor
15 SA,, et al., No. 13-cv-005723;

16 Electrograph Systems, Inc., et al. v. Technicolor
   SA, et al., No. 13-cv-05724;
17
   P.C. Richard & Son Long Island Corporation, et
18 al. v. Technicolor SA, et al., No. 13-cv-05725;

19 Office Depot, Inc. v. Technicolor SA, et al., No.
   13-cv-05726;
20
   Interbond Corporation of America v. Technicolor
21 SA, et al., No. 13-cv-05727.

22 ViewSonic Corporation, v. Chunghwa Picture
   Tubes, Ltd., et al., 3:14cv-02510;
23
   The Indirect Purchaser Action.
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                                                           STIPULATION AND [PROPOSED] ORDER EXTENDING THE
     Master File No. M:07-5994-SC
                                                           DEADLINE TO FILE MOTION TO COMPEL LG TO RESPOND
     MDL No. 1917
                                                           TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSION
        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 3 of 9



 1            This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel LG

 2 Electronics Inc. and LG Electronics USA, Inc. to Respond to Direct Action Plaintiffs’ First Set of

 3 Requests for Admission between the Direct Action Plaintiffs (collectively “Plaintiffs”), on the one

 4 hand, and LG Electronics, Inc. and LG Electronics USA, Inc. (collectively, “LG”), on the

 5 other hand, is made with respect to the following facts and recitals:

 6            WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of

 7 fact discovery for September 5, 2014. See Dkt. No. 2459;

 8            WHEREAS, the deadline to file any motion to compel after the discovery cut-off is

 9 September 12, 2014 (L.R. 37-3);

10            WHEREAS, on August 1, 2014, the Plaintiffs served their First Set of Requests for

11 Admission on LG;

12            WHEREAS, at the Request of LG, Plaintiffs agreed to an extension of time for LG to serve

13 its Responses to Plaintiffs’ First Set of Requests for Admission;

14            WHEREAS, the parties have continued to meet and confer to resolve their differences

15 related to LG’s forth-coming responses and have a bona fide intent to continue doing so;

16            WHEREAS, the Plaintiffs and LG have conferred by and through their counsel and,

17 subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

18            1.        Plaintiffs will replace Exhibit A to their First Set of Requests for Admission with

19                      the revised list of documents previously provided by Plaintiffs to LG on August 29,

20                      2014 (“Revised Exhibit A”);

21            2.        Subject to the parties’ meet and confer discussion, LG will provide substantive

22                      responses on or before September 22, 2014, to Plaintiffs’ First Set of Requests for

23                      Admission based on the Revised Exhibit A; and

24            3.        The undersigned parties agree to extend the deadline for the Plaintiffs to file a

25                      motion to compel relating to the Plaintiffs’ First Set of Requests for Admission, to

26                      the extent one is deemed necessary by Plaintiffs, to September 29, 2014.

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                                                                  STIPULATION AND [PROPOSED] ORDER EXTENDING
     Master File No. M:07-5994-SC
                                                        1          THE DEADLINE TO FILE MOTION TO COMPEL AND
     MDL No. 1917
                                                                            RESPOND PLAINTIFFS’ FIRST SET OF RFAs
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        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page   RI9            CT
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 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                 APPRO




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 3 Dated: _________________
           October 2, 2014




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                                            Hon. Samuel Conti  J u
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                                            United States District Court Judge
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     DATED: September 12, 2014      ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
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                                                   STIPULATION AND [PROPOSED] ORDER EXTENDING THE
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        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 5 of 9



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        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 7 of 9



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        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 8 of 9



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        Case 3:07-cv-05944-JST Document 2893 Filed 10/02/14 Page 9 of 9



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 7
              Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 8
     document has been obtained from each of the above signatories.
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